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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SWEET

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SWEET2021 OK 43Case Number: SCBD-7081Decided: 09/13/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 43, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
AMBER ANN SWEET, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information, Plea of Guilty, and Order of Deferred Sentence, in which Amber Ann Sweet entered pleas of guilty to one count of Grand Larceny, a felony, in violation of 21 O.S. Supp. 2018, § 1705, and one count of False Declaration of Ownership in Pawn Shop, a felony, in violation of 59 O.S. Supp. 2018, § 1512(C)(2). On June 18, 2021, the district court deferred sentencing for three years, until June 3, 2024.

¶2 RGDP 7.3 provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of the papers and orders under RGDP 7.3, this Court orders that Amber Ann Sweet is immediately suspended from the practice of law. Amber Ann Sweet is directed to show cause, if any, no later than September 28, 2021, why this order of interim suspension should be set aside. See RGDP 7.3. The OBA has until October 13, 2021, to respond.

¶3 DONE BY ORDER OF THE SUPREME COURT this 13th day of September, 2021.


/S/CHIEF JUSTICE


Darby, C.J., Kane, V.C.J., Winchester, Edmondson, Combs, Gurich and Rowe, JJ., concur;

Kauger, J., not voting.


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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 1705, 21 O.S. 1705, Grand Larceny - PenaltyCited
Title 59. Professions and Occupations
&nbsp;CiteNameLevel

&nbsp;59 O.S. 1512, Administration and EnforcementCited


	
	








				
					
					
				

		
		




	
		
			
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